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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                  CASE NO. 1:98-cr-00014-MP

TRAVIS AUGUSTAL CHEEK,

      Defendants.
___________________________/

                                           ORDER

       A hearing was held on July 21, 2006, in this case on Doc. 482, a petition alleging three

violations of supervised release by Mr. Cheek. At the hearing, Mr. Cheek admitted violations

two and three but denied violation one. The alleged victim of violation number one was not

present, and the Court was informed that alleged victim had been shot. Accordingly, the hearing

and disposition of the petition is hereby continued until August 29, 2006, at 1:00 p.m.


       DONE AND ORDERED this 27th               day of July, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
